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  Appendix B
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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                    SAN ANTONIO DIVISION


       SECURITIES AND EXCHANGE
       COMMISSION,
            Plaintiff,
                   -against-
       ROBERT J. MUELLER, DEEPROOT FUNDS
       LLC (a/k/a dprt Funds, LLC), AND POLICY
       SERVICES INC.,
                                                     Civil Action No.: 5:21-cv-785-XR
              Defendants,
                    -and-
       DEEPROOT TECH LLC, DEEPROOT
       PINBALL LLC, DEEPROOT STUDIOS LLC,
       DEEPROOT SPORTS & ENTERTAINMENT
       LLC, AND DEEPROOT RE 12621 SILICON DR
       LLC,
              Relief Defendants.



                             DEFENDANT ROBERT J. MUELLER’S
                            DESIGNATION OF POTENTIAL EXHIBITS


 Ex.              Description            Date         Bates Label              SEC’s
 No.                                                                          Objections
D-1      Deeproot Presentation                     DEEPROOT            None
                                                   FUNDS_005713-39
                                                   (Depo Ex. 4)
D-2      Deeproot the575 2019 PPM –   09/16/2019   SEC-DEEPROOT-E-     None
         Class B Membership Shares                 0164824-41 (Depo
                                                   Ex. 5)
D-3      Intentionally left blank.
D-4      Email from Mueller to        11/10/2020   SEC-DEEPROOT-E-     None
         Dandridge regarding Nov.                  0025419-23 (Depo
         updates                                   Ex. 8)
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 Ex.            Description                Date           Bates Label                SEC’s
 No.                                                                                Objections
D-5    Scott Allen resume                             SEC-EMAILS-E-          None
                                                      0012926-27 (Depo
                                                      Ex. 9)
D-6    the575 Application and           08/07/2019    DEEPROOT               None
       Subscription Agreement for                     FUNDS_002274-84
       John Gray                                      (Depo Ex. 10)
D-7    letter to 575P Investor          09/30/2020    SEC-DEEPROOT-E-        None
                                                      0008354 (Depo Ex.
                                                      11)
D-8    Employee Bonus Agreement         08/09/2019    SEC-AllenS-E-          None
                                                      000037 (Depo Ex. 12)
D-9    Big Picture Discussion List                    SEC-AllenS-E-          None
                                                      0000009-14 (Depo
                                                      Ex. 13)
D-10   Scott Allen Memo                 05/27/2020    SEC-AllenS-E-          Hearsay
                                                      0000046-51 (Depo
                                                      Ex.14)
D-11   Emails between Mueller and       10/06/2020    SEC-DEEPROOT-E-        None
       Allen regarding Andrew                         0126910-13
       Cherones                                       (Depo Ex. 15)
D-12   Slack Message from Scott         10/07/2020    SA-000014-15 (Depo     None
       Allen regarding resignation                    Ex. 17)
D-13   Memo from Allen to Mueller       10/07/2020    SEC-AllenS-E-          None
       regarding resignation                          0000079-80 (Depo
                                                      Ex. 18)
D-14   Allen resignation letter         10/07/2020    SEC-AllenS-E-          None
                                                      000081
                                                      (Depo Ex. 22)
D-15   Investment Portfolio Narrative                 SEC-DEEPROOT-E-        None
       2020.B2                                        0013223-36 (Depo
                                                      Ex. 25) (MSJR Ex. A-
                                                      12)
D-16   Email Concilla to Mueller        04/22/2013    SEC-PulmanR-E-         None
       attaching engagement letter                    0000001, 04-05
                                                      (Depo Ex. 27 / MSJR
                                                      Ex. A-11)
D-17   Emails between Mueller,         05/12/2015     MUELLER 002186-        None
       Federico and Concilla                          88
       regarding PPM                                  (Depo Ex. 32)
D-18   Emails between Mueller and                     MUELLER 002306-        None
       Concilla regarding policies and                09 (Depo Ex 33)
       blind pool




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 Ex.            Description                Date           Bates Label                SEC’s
 No.                                                                                Objections
D-19   Emails between Mueller and       08/21/2015    MUELLER 002715-        None
       Concilla regarding information                 17
       needed for BGD5, BRD3 and                      (Depo Ex. 35)
       INC3
D-20   September 1, 2015 the575         09/01/2015    SEC-DEEPROOT-E-        None
       PPM                                            0014497-12
                                                      (Depo Ex. 36)
D-21   Emails between Wik and           03/20/2017    SEC-DEEPROOT-E-        None
       Mueller re: paper                              0210796-808
                                                      (Depo Ex. 37)
D-22   Investment Allocation            03/23/2017    SEC-DEEPROOT-E-        None
       Agreement                                      0213963-66 (Depo Ex
                                                      38)
D-23   Nathan Spradlin resume                         SPRADLIN 00001-02      Hearsay
                                                      (Depo Ex. 44)
D-24   Email from Cary Mueller to       02/10/2017    SEC-DEEPROOT-E-        None
       Colleagues regarding the575                    0061786-87 (Depo
       applications                                   Ex. 45)
D-25   Email from Russell Putman to     10/21/2019    SEC-DEEPROOT-E-        None
       Scott Allen re FactRight                       0152501-60 (Depo
       deeproot reviews                               Ex. 46 / MSJR Ex. A-
                                                      12)
D-26   Email from Mueller to Russell    10/24/2019    SEC-FACTRIGHT-         None
       Putnam re FactRight report                     E-00004646-88
                                                      (Depo Ex. 47)
D-27   Email from Spradlin to Blaine    09/24/2018    SEC-DEEPROOT-E-        None
       McLaughlin re Folio platform                   0114305-07
                                                      (Depo Ex. 48)
D-28   Email from JP Parker to          11/19/2019    SEC-DEEPROOT-E-        None
       Spradlin regarding Folio login                 0064860
       for Spradlin                                   (Depo Ex. 49)
D-29   Emails between JP Parker and     12/11/2019    SEC-DEEPROOT-E         None
       Spradlin regarding                             0099771-72 (Depo
       subscriptions                                  Ex. 50)
D-30   Employee file memo from          05/27/2020    MUELLER 002974-        Completeness (106).
       Mueller regarding Spradlin                     75 (Depo Ex. 51)       Memo refers to a
                                                                             spreadsheet that is not
                                                                             attached. See, e.g., D-
                                                                             10 (similar memo,
                                                                             same date, attaching
                                                                             spreadsheet).
D-31   Letter from Spradlin to          06/11/2020    SEC-SpradlinN-E-       None
       Mueller                                        0000123 (Depo Ex.
                                                      52)



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 Ex.            Description               Date          Bates Label               SEC’s
 No.                                                                             Objections
D-32   Spradlin resignation letter     07/09/2020  SEC-SpradlinN-E-       None
                                                   0000124 (Depo Ex.
                                                   53)
D-33   Supporting documents for        2014        SEC-AAC-E-             Relevance (403)
       preparing Policy Services’                  0000031-122 (Depo
       2014 Tax Return                             Ex. 57)
D-34   2014 Tax Return for Policy      2014        SEC-AAC-E-             Relevance (403)
       Services                                    0000144-69 (Depo
                                                   Ex. 58)
D-35   Emails between Mueller and      01/11/2016 SEC-DEEPROOT-E-         None
       Abramson re 1099s                           0187630-32 (Depo
                                                   Ex. 59)
D-36   Abramson & Wildman              01/22/2016 SEC-SEC-E-              None
       engagement letter to Mueller                0002702-05 (Depo
                                                   Ex. 60)
D-37   Emails between Mueller and      04/05/2016 SEC-DEEPROOT-E-         None
       Abramson re 1099-DIV                        0209999-210003
                                                   (Depo Ex. 61)
D-38   Emails between Mueller and      04/05/2016 SEC-DEEPROOT-E-         None
       Abramson re 1099-DIV                        210005-10 (Depo Ex.
                                                   62)
D-39   Abramson & Wildman              07/07/2016 SEC-AAC-E-              None
       disengagement letter to                     0000226 (Depo Ex.
       Mueller                                     63)
D-40   Email from Abramson to          04/05/2016 Color version of SEC-   None
       Mueller re 1099-DIV issue                   DEEPROOT-E-
                                                   0209999-210003
                                                   (Depo Ex. 73)
D-41   Email from Jack Richey to       06/28/2017 SEC-DEEPROOT-E-         Relevance (403)
       Mueller (cc: Rushforth)                     0089679 (Depo Ex.
       attaching presentation                      74)
D-42   Ideal Control System and        06/23/2017 SEC-DEEPROOT-E-         Relevance (403)
       Hardware Proposal                           0089688-706 (Depo
       presentation                                Ex. 75)
D-43   Talking Points                              SEC-DEEPROOT-E-        Relevance (403)
                                                   0089680-86 (Depo
                                                   Ex. 76)
D-44   Email from Rushforth to         06/30/20217 SEC-DEEPROOT-E-        Relevance (403)
       Mueller regarding banana lift               0089850 (Depo Ex.
       and other projects                          77)
D-45   Banana lift document                        SEC-DEEPROOT-E-        Relevance (403)
                                                   0089869-72 (Depo
                                                   Ex. 78)




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 Ex.            Description                Date           Bates Label              SEC’s
 No.                                                                             Objections
D-46   Pinball Leveling                               SEC-DEEPROOT-E-       Relevance (403)
       Documentation                                  0089851-65 (Depo
                                                      Ex. 79)
D-47   Purchase Agreement               12/30/2020    SEC-DEEPROOT-E-       None
                                                      00008342-52 (Depo
                                                      Ex. 80)
D-48   Licensing and Marketing Deck                   SEC-DEEPROOT-E-       Relevance (403)
       2017                                           00197919-30 (Depo
                                                      Ex. 81)
D-49   Email from Bridget Homan to      05/09/2019    SEC-DEEPROOT-E-       Relevance (403)
       Rushforth attaching RAZA                       0090862 (Depo Ex.
       Preliminary BOM spreadsheet                    82)
D-50   RAZA Preliminary BOM                           SEC-DEEPROOT-E-       Relevance (403)
       spreadsheet                                    0090863 (Depo Ex.
                                                      83)
D-51   Slack messages                   05/03/2021    MUELLER 002870        Relevance (403)
                                                      (Depo Ex. 84)
D-52   June 2021 - May 2022                           MUELLER 002864-       Foundation (901);
       Projected Budget                               69 (Depo Ex. 85)      Relevance (403)
D-53   deeproot Tech / deeproot                       DEEPROOT FUNDS        None
       Pinball Disclosure UPDATED                     005379-83 (Depo Ex.
                                                      86)
D-54   Mueller’s Expert Designations    04/06/2023    (Depo Ex.87 / MSJ     Hearsay (803)
                                                      Resp. Ex. A-15)
D-55   Email from Mueller to            01/08/2015    MUELLER 001441-       None
       Concilla (cc: Federico)                        1553 (Depo Ex. 88)
       attaching deeproot-GRD
       documents
D-56   Email from Mueller to            01/08/2015    MUELLER 001554-       None
       Concilla (cc: Federico)                        1664 (Depo Ex. 89)
       attaching the575 documents
D-57   Email from Concilla to           08/12/2015    MUELLER 002649-       None
       Mueller re revised dGRD PPM                    67 (Depo Ex. 91)
D-58   Email from Concilla to           09/01/2015    MUELLER 002813-       None
       Mueller re 575 done                            14 (Depo Ex. 92)
D-59   Email from Concilla to           09/24/215     MUELLER 002853        None
       Mueller re investor                            (Depo Ex. 93)
       presentation
D-60   Deeproot investment                            MUELLER 002816-       None
       presentation                                   51 (Depo Ex. 94)
D-61   Declaration of Dennis Concilla                 MUELLER 002862-       Hearsay (803)
                                                      63 (Depo Ex. 101)




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 Ex.            Description                  Date           Bates Label               SEC’s
 No.                                                                                 Objections
D-62   Email from Concilla to             02/20/2014    MUELLER-CPM           None
       Mueller attaching final docs                     0000063-88 (Depo
       for 5 year fund                                  Ex. 102)
D-63   Emails between Concilla,           03/18/2014    MUELLER-CPM           None
       Mueller, Russell Hagan,                          000177-79 (Depo Ex.
       Federico, and Michael Smith                      103)
       regarding Reg D and
       unqualified funds
D-64   Email between Mueller and          03/27/2015    MUELLER-CPM           None
       Concilla regarding deeproot 3                    001545-46 (Depo Ex.
       Year Trending Tech Debenture                     106)
       Fund, LLC filings
D-65   Email from Mueller to              04/02/2015    MUELLER-CPM           None
       Concilla and Federico                            001547-61 (Depo Ex.
       attaching summary documents                      107)
       for project
D-66   Emails between Mueller,            04/07/2015    MUELLER-CPM           None
       Concilla and Federico re 3-                      001562-63 (Depo Ex.
       year tech fund                                   108)
D-67   Email from Mueller to              07/23/2015    MUELLER-CPM           None
       Concilla and Federico                            001706-10 (Depo Ex.
       regarding first major draft of                   109)
       GRD Term Sheet
D-68   Emails between Federico and        02/05/2015    MUELLER-CPM           None
       Concilla attaching latest of S-1                 001428-76 (Depo Ex.
                                                        112)
D-69   Contingent Pledge and              11/20/2020    SEC-DEEPROOT-E-      Foundation (901). Mr.
       Security Agreement between                       00213967-79 (MSJ     Mueller previously
       deeproot entities                                Resp. Ex. A-13)      testified that "I don't
                                                                             have a recollection of
                                                                             the purpose of this
                                                                             agreement," although
                                                                             he was able to state
                                                                             "the agreement is
                                                                             authentic and
                                                                             legitimate." Mueller
                                                                             Investigation Tr.
                                                                             179:6-9, June 23, 2021.
D-70   Email from Kristen Warden to       03/17/2023    (MSJ Resp. Ex. A-14) Hearsay (803);
       Jay Hulings and Jason Davis                                           Relevance (403)
       attaching Expert Report of Bill
       Post
D-71   SEC’s Initial Disclosures          04/15/2022    (MSJ Resp. Ex. A-16) None




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 Ex.             Description                  Date            Bates Label             SEC’s
 No.                                                                                 Objections
D-72   SEC’s Amended Initial               11/14/2022    (MSJ Resp. Ex. A-17) None
       Disclosures
D-73   Mueller’s Response to               08/19/2022    (MSJ Resp. Ex. A-18) Hearsay (803)
       Plaintiff’s First Set of
       Interrogatories
D-74   the575 Application and              05/10/2019    DEEPROOT_FUNDS None
       Subscription Agreement for                        001911-18
       James Donnelly
D-75   the575 Application and              02/12/2017    DEEPROOT_FUNDS None
       Subscription Agreement for                        003189-98
       Robert Kane
D-76   the575 Application and              08/30/2016    MUELLER 002876-      None
       Subscription Agreement for                        84
       Sandra Thompson
D-77   the575 Application and              10/25/2016    MUELLER 002885-      Foundation (901);
       Subscription Agreement for                        92                   Relevance (403)
       Sandra Thompson
D-78   FactRight Due Diligence             March 2018    SEC-FACTRIGHT-       Foundation (901). Not
       Report for the575                                 E-00000004-30        clear if this is a final or
                                                                              draft report.
D-79   Intentionally left blank.
D-80   FactRight Due Diligence             March 2018    SEC-FACTRIGHT-       Foundation (901). Not
       Report for dGRD                                   E-00000223-50        clear if this is a final or
                                                                              draft report.
D-81   Intentionally left blank.
D-82   Email between Tom Andrew            04/02/2019    CYCL00006116-17      None
       and Robert Mueller regarding
       sale for value of Basha policy
D-83   Email between SEC and Davis         08/19/2021    MUELLER 002860-      Foundation (901);
       & Santos refusing to toll filing                  61                   Hearsay (803);
       of Complaint                                                           Relevance (403);
                                                                              Speculation (701);
                                                                              Legal Conclusion
                                                                              (703)
D-84   Pre-suit interview transcript of    05/24/2021    --                   Hearsay (803)
       Scott Allen
D-85   Pre-suit interview transcript for   05/27/2021    --                   Hearsay (803)
       Andrew Thomas
D-86   Pre-suit interview transcript for   06/04/2021    --                   Hearsay (803)
       Cary Mueller
D-87   Pre-suit interview transcript for   06/09/2021    --                   Hearsay (803)
       Nathan Spradlin




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 Ex.              Description                  Date            Bates Label            SEC’s
 No.                                                                               Objections
D-88    Pre-suit interview transcript for   06/11/2021    --                  Hearsay (803)
        John Mark Richardson
D-89    Pre-suit interview transcript of    06/23/2021    --                  Hearsay (803)
        Robert Mueller, Vol. 1
D-90    Pre-suit interview transcript of    06/24/2021    --                  Hearsay (803)
        Robert Mueller, Vol. 2
D-91    Declaration of Kenneth              09/07/2022    SEC-SEC-E-          None
        Abramson                                          0002717-20
D-92    Declaration of Gerald R. Wik        09/07/2022    SEC-SEC-E-          None
                                                          0002500-53
D-93    Declaration of George C.            09/13/2022    SEC-SEC-E-          None
        Williams                                          0002551-53
D-94    Declaration of Brad Alan Leon       09/14/2022    SEC-SEC-E-          Hearsay (803);
                                                          0002517-20          Foundation (901)
D-95    Declaration of Sandra               09/15/2022    SEC-SEC-E-          None
        Thompson                                          0002508-11
D-96    Declaration of Robert Kane          09/25/2022    SEC-SEC-E-          None
                                                          0002946-49
D-97    Declaration of John Gray            10/09/2022    SEC-SEC-E-002959-   None
                                                          62
D-98    Declaration of James Donnelly       10/18/2022    SEC-SEC-E-          None
                                                          0002984-87
D-99    Declaration of Phillip Forret       11/04/2022    SEC-SEC-E-          None
                                                          0002979-81
D-100   Photos of Facilities and                          MUELLER 002893-     Foundation (901);
        Machines                                          99                  Relevance (403)
D-101   Photo Fire Brimstone machine                      MUELLER 002900      Foundation (901);
        model                                                                 Relevance (403)
D-102   Photo RAZA machines                               MUELLER 002901      Foundation (901);
                                                                              Relevance (403)
D-103   Video of RAZA walkthrough                         MUELLER 002960      Hearsay (803);
                                                                              Foundation (901);
                                                                              Relevance (403)
D-104   Video of RAZA prototype                           MUELLER 002965      Hearsay (803);
        gameplay at Houston Arcade                                            Foundation (901);
        Expo                                                                  Relevance (403)
D-105   Video of Goonie’s gameplay                        MUELLER 002961      Foundation (901);
        sample                                                                Relevance (403)
D-106   Video of MachineAge graphics                      MUELLER 002962      Foundation (901);
                                                                              Relevance (403)
D-107   Chris Turner video - Pinside                      MUELLER 002963      Hearsay (803);
        Pinball Mystery Whodunnit!                                            Foundation (901);
                                                                              Relevance (403)



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 Ex.             Description                Date          Bates Label            SEC’s
 No.                                                                          Objections
D-108   Chris Turner video - Top 5                     MUELLER 002964    Hearsay (803);
        Questions about Turner Pinball                                   Foundation (901);
                                                                         Relevance (403)
D-109   This Week in Pinball Article -   11/14/2019    MUELLER 002902-   Hearsay (803);
        FIRST LOOK: deeproot                           10                Hearsay within
        Pinball’s Retro Atomic                                           Hearsay (803);
        Zombie Adventureland, plus                                       Relevance (403)
        Interviews with John
        Popadiuk, Steven Bowden, and
        Robert Mueller
D-110   Pinball Subpernova article –     11/15/2019    MUELLER 002966-   Hearsay (803);
        News: Deeproot Finally                         69                Hearsay within
        Unveils Retro Atomic Zombie                                      Hearsay (803);
        Adventureland Prototype                                          Relevance (403)
        Pinball
D-111   Pinball News article: Retro      11/15/2019    MUELLER 002970-   Hearsay (803);
        Atomic Zombie Adventureland                    73                Relevance (403)
D-112   This Week in Pinball Article -   12/23/2019    MUELLER 002911-   Hearsay (803);
        THIS WEEK IN PINBALL:                          22                Relevance (403)
        December 23rd, 2019
D-113   This Week in Pinball Article -   03/16/2020    MUELLER 002923-   Hearsay (803);
        THIS WEEK IN PINBALL:                          28                Hearsay within
        March 16th, 2020                                                 Hearsay (803);
                                                                         Relevance (403)
D-114   This Week in Pinball Article -   09/14/2020    MUELLER 002929-   Hearsay (803);
        Avengers Reveal Videos,                        38                Hearsay within
        deeproot Announces Launch                                        Hearsay (803);
        Date, Raymond Davidson                                           Relevance (403)
        Interview, and the Pinball Pig
D-115   This Week in Pinball Article -   11/23/2020    MUELLER 002939-   Hearsay (803);
        deeproot RAZA Gameplay                         53                Relevance (403)
        Reveal, ReplayFX/PAPA/
        Pinburgh/WIPT Cancelled
        Permanently, Star Wars Comic
        Art, Alien Pinball Teasers
D-116   Express News Article – World     09/25/2020    MUELLER 002954-   Hearsay (803);
        ranked pinball wizard is                       59                Hearsay within
        reviving the game                                                Hearsay (803);
                                                                         Relevance (403)




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